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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                            Richmond Division


OLD DOMINION MOTORS,INC., et al.

                          Plaintiffs,

                                                                   Civil Action No. 3:18-0V-617-HEH

COMMERCIAL READY MIX
PRODUCTS,INC.,

                          Defendant.


                                      MEMORANDUM OPINION
                             (Denying Defendant's Motion to Dismiss)

         THIS MATTER is before the Court on Defendant Commercial Ready Mix

Products, Inc.'s("Defendant")Partial Motion to Dismiss(EOF No. 3), filed on

September 11, 2018. On October 29, 2018, Plaintiffs Old Dominion Motors, Inc.("Old

Dominion") and Yeattes Brothers Rentals, LLC ("Yeattes Brothers")(collectively

"Plaintiffs") filed a Motion for Extension of Time to File Response/Reply(ECF No. 8).

Thereafter, the Court granted the Motion and permitted Plaintiffs until November 2, 2018

to file a response(ECF No. 10). Plaintiffs, however, did not file their response in

accordance with the Order. Accordingly, the Court has exclusively reviewed

Defendant's Partial Motion to Dismiss for disposition.'

         The Court will dispense with oral argument because the facts and legal contentions

are adequately presented in the materials before the Court, and oral argument would not


'Because Plaintiffs did not file a timely response, the Court did not consider Defendant's Reply(ECF No. 13), filed
on November 8, 2018.
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aid in the decisional process. See E.D. Va. Local Civ. R. 7(J). For the reasons that

follow, the Court denies Defendant's Partial Motion to Dismiss.

                                        BACKGROUND


       According to the Complaint, Yeattes Brothers owns commercial property located

at 130 Courtland Road, Emporia, Virginia ("the Property"). (Compl. If 4, ECF No. 1-2.)

Yeattes Brothers leases portions of the Property, including buildings, to several

individuals and businesses. {Id. Jf 5.) By Yeattes Brothers' consent. Old Dominion uses

a portion of the Property to store motor vehicles. {Id. Iflf 5, 7-8.) Defendant operates a

concrete production plant adjacent to the Property. {Id. If 6.)

       Plaintiffs allege that beginning on or about June 9, 2016, and lasting for several

days. Defendant's employees spray painted a mixing tower at the plant, despite strong

winds blowing paint in the direction of and onto the Property. {Id. |f 10-11.) The spray

paint overspray, according to Plaintiffs, irreparably damaged motor vehicles, as well as

stained roofs, windows, and exterior surfaces of the Property. {Id. [f 12-13.)

Furthermore, Defendant's employees allegedly continued spray painting even after

Plaintiffs put Defendant on notice ofthe damage on June 9,2016. {Id. If 12.)

       Separate from the spray painting incident. Plaintiffs further allege that since the

summer of 2016, and continuing until at least the filing ofthe Complaint, Defendant has

caused and allowed "slurry runoff from its concrete production facility to flow through an

artificially created ditch or channel... in concentrated form, onto the Property and into

the sediment control pond located thereon." {Id. |f 16.) Plaintiffs allege this runoff

"substantially and materially impairs the value and/or use of the Property." {Id. |f 17.)
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       On June 5, 2018, Plaintiffs filed their Complaint against Defendant in the Circuit

Court of Greensville County, Virginia. (Compl. 1.) The Complaint lists four Counts.

{Id. Iflf 18-49.) Plaintiffs jointly allege nuisance(Count One), trespass(Count Two), and

negligence(Count Three), each pled in the alternative. {Id. Iff 18-37.) Counts One,

Two, and Three stem from the alleged damage caused by Defendant's spray painting

activities and invasive runoff. For each ofthese Counts, Plaintiffs seek compensatory

damages and further contend that Defendant's conduct merits punitive damages. {Id.)

Plaintiffs also seek injunctive relief. {Id.) Under Count Four, Yeattes Brothers alleges

that Defendant's excessive use of groundwater constitutes an interference with its

riparian rights. {Id. ff 37-49.) Yeattes Brothers therefore seeks compensatory, punitive,

and injunctive relief for Count Four. {Id.)

       On August 30, 2018, Defendant filed its Answer(ECF No. 1-3)in state court.

(Notice of Removal f 5, ECF No. 1.) On September 11, 2018, Defendant removed the

action to the United States District Court for the Eastern District of Virginia and filed this

Partial Motion to Dismiss.

                                STANDARD OF REVIEW


       "A motion to dismiss under Rule 12(b)(6) tests the sufficiency of a complaint;

importantly, it does not resolve contests surrounding the facts, the merits of a claim, or

the applicability of defenses." Republican Party ofN.C. v. Martin, 980 F.2d 943,952

(4th Cir. 1992)(citation omitted). The Federal Rules of Civil Procedure "require[] only

'a short and plain statement of the claim showing that the pleader is entitled to relief,' in

order to 'give the defendant fair notice of what the ... claim is and the grounds upon
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which it rests.'" Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)(quoting Conley v.

Gibson, 355 U.S. 41,47(1957)). A complaint need not assert "detailed factual

allegations," but must contain "more than labels and conclusions" or a "formulaic

recitation of the elements of a cause of action." Twombly, 550 U.S. at 555 (citations

omitted). Thus,the "[f]actual allegations must be enough to raise a right to relief above

the speculative level," id. (citation omitted), to one that is "plausible on its face," id. at

570, rather than merely "conceivable." Id. In considering such a motion, a plaintiffs

well-pleaded allegations are taken as true and the complaint is viewed in the light most

favorable to the plaintiff. T.G. Slater & Son, Inc. v. Donald P. & Patricia Brennan LLC,

385 F.3d 836, 841 (4th Cir. 2004)(citation omitted). Legal conclusions enjoy no such

deference. Ashcroftv. Iqbal, 556 U.S. 662,678(2009).

                                          ANALYSIS


       Defendant challenges the Complaint on four separate bases. First, Defendant

argues that Plaintiffs fail to allege sufficient facts to support an award of punitive
damages on any count. (Def.'s Mem.in Supp. 3, EOF No. 4.) Second, Defendant argues

that Plaintiffs' nuisance claim should be dismissed in light of their negligence claim. (Id.

at 5.) Third, Defendant argues that Plaintiffs fail to allege a valid trespass claim. (Id. at

6.) Finally, Defendant argues that Plaintiffs are not entitled to injunctive relief as a

matter oflaw because Plaintiffs are not subject to irreparable harm. (Id. at 7.) The Court

will consider each argument in turn.

       First, Defendant argues that the Court should dismiss Plaintiffs' claims for

punitive damages because these claims lack any factual foundation in the Complaint. (Id.
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at 3-5.) Under Virginia law, punitive damages "may be recovered only when there is

misconduct or actual malice, or such recklessness or negligence as to evince a conscious

disregard of another." Simbeck, Inc. v. Dodd Sisk Whitlock Corp., 508 S.E.2d 601,604

(Va. 1999). Awarding punitive damages is disfavored in Virginia due to their penal

nature. Id. Accordingly, as Defendant correctly argues, Virginia law requires that

Plaintiffs meet a demanding standard to justify an award of punitive damages. However,

when considering a challenge under Federal Rule of Civil Procedure 12(b)(6), the Court

is concerned with the facial sufficiency of claims, not their merits.

       Here, Plaintiffs have stated plausible claims for punitive damages. Notably,

Plaintiffs allege that they placed Defendant on notice of the damage it was causing on the

Property as a result of overspray from its painting activities. (Compl.f 12.) Allegedly,

despite the notice. Defendant's activities continued thereby causing further damage. {Id.)

Such allegations represent a plausible claim that Defendant acted with the requisite intent

to warrant punitive damages under Virginia law. See PGI, Inc. v. Rathe Productions,

Inc., 576 S.E.2d 438,444(Va. 2003)("'Willful or wanton conduct imports knowledge

and consciousness that injury will result from the act done.'")(quoting Baker v. Marcus,

114 S.E.2d 617,620-21 (Va. I960)).

       Similarly, with respect to Yeattes Brothers' allegations of Defendant's overuse of

groundwater under Count Four, the Court finds Plaintiffs' factual allegations sufficient at

this stage of the proceedings to allow the claim for punitive damages to survive.

Accordingly, Defendant's argument with respect to Plaintiffs' claims for punitive

damages fails.

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       Second, Defendant argues that the Court should dismiss Plaintiffs' nuisance claim

(Count I) as a result of shared underlying facts that also give rise to their alternatively

pled negligence claim (Count III). To support its position, Defendant relies on the

Supreme Court of Virginia's reasoning in Philip Morris, Inc. v. Emerson, 368 S.E.2d 268

(Va. 1988). Philip Morris involved a private campground that was forced to close

temporarily as a result of a toxic gas released from a nearby laboratory. Id. at 282. The

closure was ultimately precautionary, as there was no evidence gas entered the

campground. Id. Due to the absence of physical harm that is required for negligent

interference with a contract, the campground sought recovery under an alternative

nuisance theory. Id. In reversing a judgment in favor of the campground,the Supreme

Court of Virginia rejected this theory because the campground attempted to re

characterize its claim for negligent conduct as a nuisance. Id. at 282-83.

       Importantly, the facts in Philip Morris, specifically, the lack of evidence that gas

entered the campground, drove the plaintiff toward alternative theories of recovery. Id. at

282. Nuisance was one of multiple theories offered, and, as the Supreme Court of

Virginia noted,"[i]n all the cases [the campground] cite[ed], the smoke, odors, and water

entered the premises of the plaintiff; no such thing happened in [Philip Morris].'' Id.

Due to the context surrounding the campground's nuisance claim, the Supreme Court of

Virginia concluded that in that instance it would "look to the object ofthe action, rather

than its form, to determine the extent of liability of the defendants." Id. Accordingly, the

court focused on the negligent conduct at the heart of the matter and rejected the

campground's nuisance theory. Id. at 282-83.

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       This Court construes the Supreme Court of Virginia's determination in Philip

Morris narrowly, and, therefore. Defendant's reliance on Philip Morris is misplaced. A

similar argument with respect to a nuisance claim arose in Andrews v. Newman,Nos.

3:07CV00060, 3:07CV00050, 3:07CV00049, 2008 WL 2169681 (W.D. Va. 2008). In

Andrews, the plaintiffs pled identical counts of negligence and nuisance, among other

claims. Andrews, 2008 WL 2169681, at * 1. The underlying facts involved

contamination of plaintiffs' groundwater following a spill from an overturned gasoline

tanker truck on a nearby highway. Id. In narrowly construing Philip Morris and

allowing the nuisance claim to survive a 12(b)(6) challenge, the federal district court

observed that ''Philip Morris and the case on which it relied .. . dealt with situations

where the plaintiffs nuisance theory was no more than an attempted 'end run' around a

bar to recovery under negligence." Andrews, 2008 WL 2169681, at *2. This Court

agrees.


       The instant case is distinguishable from Philip Morris. Plaintiffs seek recovery for

multiple injuries detailed in the Complaint. Plaintiffs seek recovery, first, as a result of

alleged overspray from Defendant's painting activities and, second, for the effects of

"slurry runoff allegedly entering the Property from Defendant's property. (Compl.fl

13-17, 19.) Defendants have offered no argument that Plaintiffs are barred from

pursuing a negligence claim based upon the facts alleged. Unlike in Philip Morris,

Plaintiffs have made no attempt to bypass the failure of a negligence claim by

recharacterizing it under another theory of recovery. Further, Plaintiffs allege that runoff

from Defendant's activities on its property has invaded the Property since 2016,

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continuing up until at least the filing of the case. (Id. ^ 16.) Whereas no evidence

showed that gas entered the campground in Philip Morris, the facts, as alleged in this

case, involve the continuous entrance of runoff onto Yeattes Brothers' Property. Thus,

Plaintiffs' nuisance claim is distinguishable from that which was rejected in Philip

Morris, and, accordingly, survives Defendant's challenge.

       Third, Defendant seeks dismissal ofPlaintiffs' trespass claim (Count II). (Def.'s

Mem. in Supp. 6.) According to Defendant, Plaintiff Old Dominion has failed to plead a

valid trespass claim because it has not shown that it has any possessory interest in the

Property, or that it has any other relevant property interest that would give rise to a

trespass by Defendant. {Id.) Defendant further alleges that a trespass claim by Plaintiff

Yeattes Brothers also fails because it has not pled "facts sufficient to demonstrate how

any alleged paint overspray or runoff directly invades [Plaintiff Yeattes Brothers']

possessory right to the Property described." {Id.)

       Under Virginia common law, trespass is an unauthorized invasion of one's interest

in personal property or an entry on another's land without lawful authority,"which

results in interference with the property owner's possessory interest therein." Cooper v.

Horn,448 S.B.2d 403,406(Va. 1994)(internal quotations omitted); see also Blackford v.

Rogers, 23 S.E. 896(Va. 1896). In causes of action for trespass to land, the plaintiff

must have had possession of the land, either actual or constructive, at the time the

trespass was committed. BlacJrford, 23 S.E. at 897. "Any physical entry upon the surface

ofthe land constitutes such an invasion, whether the entry is 'a walking upon it, flooding

it with water, casting objects upon it, or otherwise.'" Cooper,448 S.E.2d at 406(quoting
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W.Page Keeton et al., Prosser and Keeton on the Law ofTorts § 13, at 70(5th ed.

1984)).

       The Complaint provides that Plaintiff Yeattes Brothers owns the Property and

"leases portions of the Property, and the buildings thereon, to several individuals and

businesses, one of which operates a salvage yard." (Compl.        4-5.) The factual

allegations describe alleged damage to the exterior of buildings on the Property resulting

from Defendant's paint overspray. {Id. HIS.) Further, Defendant has allegedly interfered

with Plaintiff Yeattes Brothers' exclusive possession of its Property as a result of runoff

entering the Property. {Id. H 16.) Accordingly, as alleged, a plausible claim for trespass

to land exists on the part of Plaintiff Yeattes Brothers.

       Virginia common law also recognizes a cause of action for trespass to chattels.

See America Online, Inc. v. LCGMInc.,46 F.Supp.2d 444,451 (E.D. Va. 1998)(citing

Vines v. Branch, 418 S.E.2d 890, 894(Va. 1992)). A trespass to chattels occurs when the

defendant "intentionally uses or intermeddles with personal property in rightful

possession of another without authorization." Id. Trespasser liability arises "ifthe

chattel is impaired as to its condition, quality, or value." Id. The Complaint alleges

overspray paint damages by Defendant to Old Dominion's vehicles stored on the

Property with Plaintiff Yeattes Brothers' permission. (Compl.        14-15.) Accordingly,

Old Dominion's trespass claim is plausible as well. Therefore, Defendant's arguments

with respect to Plaintiffs' trespass claim fail.

       Finally, Defendant alleges Plaintiffs are not entitled to injunctive relief as a matter

of law because Plaintiffs have not asserted any facts showing that Plaintiffs are subject to

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irreparable harm by Defendant's actions. (Defs Mem. in Supp. 7.) The Supreme Court

of Virginia has clearly articulated that "unless a party is entitled to an injunction pursuant

to a statute, a party must establish the 'traditional prerequisites, i.e., irreparable harm and

lack of an adequate remedy at law' before a request for injunctive relief will be sustained.

Levisa Coal Co. v. Consolidation Coal Co.,662 S.E.2d 44, 53(Va. 2008)(citing Virginia

Beach S.P.C.A., Inc. v. South Hampton Rds. Veterinary Ass'n, 329 S.E.2d 10, 13(Va.

1985)).

       As outlined above. Plaintiffs' Complaint alleges ongoing runoff entering the

Property from Defendant's property. (Compl. H 16.) Further, Yeattes Brothers alleges

ongoing excessive use of groundwater by Defendant that interferes with its riparian

rights. {Id.    38-49.) These represent factual allegations that plausibly necessitate

injunctive relief. Thus, Defendant's argument with respect to Plaintiffs' request for

injunctive relief fails.

       For the aforementioned reasons. Defendant's Partial Motion to Dismiss is denied.

An appropriate Order will accompany this Memorandum Opinion.

       It is so Ordered.

                                                                       /s/
                                                    Henry E. Hudson
                                                    Senior United States District Judge
Date: May. 26,golf
Richmond,




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